                   Case: 4:22-cr-00065-AGF Doc. #: 1 Filed: 01/27/22 Page: 1 of 1 PageID #: 1
     AO 91 (Rev. 11/11) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                                           for the
                                                    EASTERN DISTRICT
                                                      __________ DistrictOF
                                                                          of MISSOURI
                                                                             __________

                       United States of America                               )
                                  v.                                          )
                        JOHN KENNETH LOW
                                                                              )       Case No. 4:22 MJ 3047 NCC
                                                                              )
                                                                              )      6,*1('$1'68%0,77('727+(&2857)25
                                                                              )
                                                                                     ),/,1*%<5(/,$%/((/(&7521,&0($16
                                                                              )
                               Defendant(s)


                                                        CRIMINAL COMPLAINT
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
     On or about the date(s) of                     January 27, 2022                  in the county of                  St. Louis          in the
           Eastern          District of             Missouri             , the defendant(s) violated:

                  Code Section                                                           Offense Description

     18:2422(b)                                        Coercion and Enticement of a Minor

     18:2423(a)                                        Transportation with Intent to Engage in Criminal Sexual Activity

     18:2423(b)                                        Travel with Intent to Engage in Illicit Sexual Conduct




               This criminal complaint is based on these facts:
                                                            SEE ATTACHED AFFIDAVIT




             ✔       u Continued on the attached sheet.
,VWDWHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKHIROORZLQJLVWUXHDQG FRUUHFW

                                                                                                            Complainant’s signatur
                                                                                                                          signature
                                                                                                            Daniel Root, SA, FBI
                                                                                                             Printed name and title
  6ZRUQWRDWWHVWHGWRRUDIILUPHGEHIRUHPHYLDUHOLDEOHHOHFWURQLFPHDQVSXUVXDQWWR)HGHUDO5XOHVRI&ULPLQDO3URFHGXUHDQG



                      01/27/2022
     Date:
                                                                                                               Judge’s signature

     City and state:                         St. Louis, Missouri                       Honorable Noelle C. Collins , U.S. Magistrate Judge
                                                                                                             Printed name and title
